     Case 1:22-cr-00432-DLI Document 9-1 Filed 01/23/23 Page 1 of 1 PageID #: 60
                                                                 File Date: January 23, 2023
                                                                 Case Number: 22-cr-432 (S-1) (DLI)
                                                                 Judge Dora Lizette Irizarry
                                      INFORMATION SHEET

                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK


1.       Title of Case: United States v. DERKACH and TEREKHOVA
2.       Related Magistrate Docket Number(s): 22-CR-432_____________
3.       Arrest Date:   NA

4.       Nature of offense(s):     IZI Felony
                                   □ Misdemeanor
5.       Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local E.D.N.Y.
         Division of Business Rules): ____________________

6.       Projected Length of Trial:    Less than 6 weeks
                                       More than 6 weeks        □
7.       County in which crime was allegedly committed: Brooklyn__________
         (Pursuant to Rule 50.l(d) of the Local E.D.N.Y. Division of Business Rules)

8.       Was any aspect of the investigation, inquiry and prosecution giving rise to the case
         pending or initiated before March 10, 2012. 1        □ Yes 181 No
9.       Has this indictment/information been ordered sealed?         □ Yes IX! No
10.      Have arrest warrants been ordered?                           � Yes    □ No
11.      Is there a capital count included in the indictment?   □ Yes IZl No

                                                       BREON PEACE
                                                       UNITED STATES ATTORNEY

                                               By:         Isl__________
                                                       Artie McConnell
                                                       Assistant U.S. Attorney
                                                       (718) 254-7150




         Judge Brodie will not accept cases that were initiated before March I 0, 2012.


Rev. 10/04/12
